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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
UNITED STATES OF AMERICA               )
                                       )
      v.                               )
                                       )                  Criminal No. 23-cr-10039-DJC
JOHN SULLIVAN,                         )
            DEFENDANT.                 )
_______________________________________)

    GOVERNMENT’S ASSENTED-TO MOTION TO SEAL ITS FORTHCOMING
   OPPOSITION TO DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

       The United States of America respectfully requests the Court’s leave to file its

forthcoming Opposition to the Defendant’s Motion for Furlough under seal.

       On January 28, 2025, the Defendant filed an Emergency Motion for Furlough (Dkt. No.

130). Defendant’s Motion discussed and described the Defendant’s medical conditions and

medical needs, and included as exhibits medical records and other documents describing

Sullivan’s medical history.

       The Government opposes the Defendant’s request for furlough and intends to file a

memorandum in opposition. The Government’s opposition will discuss and describe

Defendant’s medical needs and attach medical records. Accordingly, in order to protect the

Defendant’s privacy rights, the Government requests leave to file its opposition under seal.

       If the Government’s request for leave to file under seal is granted, the Government will

file its opposition under seal and will file a redacted version to the public docket.

       The Government has conferred with counsel for the Defendant and the Defendant assents

to the relief requested in this motion.
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                                                       Respectfully submitted,

                                                       UNITED STATES OF AMERICA,

                                                       By its attorney,

                                                       LEAH B. FOLEY
                                                       United States Attorney

Dated: January 30, 2025                                /s/ Christopher Looney
                                                       Christopher Looney
                                                       Torey Cummings
                                                       Assistant United States Attorneys


                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).
                                                /s/ Christopher Looney
                                                Christopher Looney
                                                Assistant United States Attorney
Dated: January 30, 2025




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